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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA, and
STATE OF NEW MEXICO, ex rel.
JOSE HERNANDEZ-GIL, DMD,
Relator,

       Plaintiff,

vs.                                                          CIVIL NO. 1:13-cv-01141-JCH-LF

DENTAL DREAMS, LLC A/K/A DENTAL
EXPERTS, LLC, an Illinois limited liability
Company, SAMEERA TASNIM HUSSAIN,
DMD, individually and as an organization
Agent, DENTAL DREAMS, LLC, a New
Mexico limited liability company, FAMILY
SMILES, LLC, a New Mexico limited
Liability company, FRANK VON
WESTERNHAGEN, DDS, individually and
As an organization agent, KOS SERVICES,
LLC, an Illinois limited liability company, and
KHURRAM HUSSAIN, ESQ., individually
And as an organization agent,

       Defendants.


                                            ORDER

       THIS MATTER comes before the Court on Relator’s Emergency Motion for Discovery

Sanctions (ECF No. 143). Per an Order of this Court, Defendants filed an expedited response to

the motion, agreeing to certain forms of relief, but objecting to others. Defendants did not oppose

continuance of the April 16, 2018 trial, so the Court in a text only Order (ECF No. 152) vacated

the trial and the Call of the Calendar. The Court reserved ruling on the other issues set forth in

Relator’s emergency motion. The Court had not set a deadline for an expedited reply. Given that

trial is no longer imminent, Relator may file a reply brief in support of his emergency motion
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within the usual time period set forth in the local rules. The Court will reserve ruling on all other

issues raised in the motion until briefing is complete.

       The Court previously advised the parties that it would hear oral arguments at the Call of

the Calendar concerning “whether claims against Dental Dreams, LLC a.k.a. Dental Experts,

LLC, an Illinois limited liability company, and KOS Services, LLC, survive summary judgment

or whether Plaintiff waived them.” Mem. Op. and Order 40, ECF No. 141. In lieu of oral

argument, the Court orders the parties to submit simultaneous briefs on the waiver issue of no

more than seven (7) pages in length on or before Friday, April 27, 2018.

       IT IS SO ORDERED.




                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE




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